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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


Richard Cox,                           :
                                       :
    Plaintiff,                         :
                                       :
    v.                                 :     CASE NO. 3:22cv1209(JBA)
                                       :
New Haven et al                        :
                                       :
    Defendants.                        :


               CALENDAR AND SETTLEMENT CONFERENCE ORDER

    A video settlement conference with the undersigned has been

scheduled in this case for February 9, 2023 at 10:30 A.M.             Those

in attendance at the conference should be prepared to spend the

remainder of the day at the settlement conference.

    I. PARTIES WITH FULL AUTHORITY MUST ATTEND.         The parties are

hereby ORDERED to be present at the conference.        If a party is a

legal entity, not an individual, a representative of the party

who is fully authorized to decide all matters pertaining to the

case shall be present at the conference.       The court will not hold

a settlement conference without all parties present.         A party may

not participate by phone without express, advance approval by the

court, and must first notify opposing counsel to determine if

there are any objections.    In cases where a party requires

authority from an insurer to settle the case, the party shall
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ensure that an insurance company representative with full

authority to settle the case is present at the conference.            For a

plaintiff, "full authority" means final authority to dismiss the

case with prejudice, and to accept in settlement an amount or

terms down to the defendant's last offer.       For a defendant, "full

authority" means final authority to commit a defendant to pay, in

the representative's own discretion, a settlement amount up to

the plaintiff's prayer or the plaintiff's last demand, whichever

is lower.   The purpose of this requirement is to have in

attendance a person with both the authority and independence to

settle the case during the settlement conference without

consulting anyone not present.     The requirement that parties

personally appear is intended to increase the efficiency and

effectiveness of the settlement conference.        Failure of a party

with full authority to settle the case to attend the conference

may result in the imposition of sanctions.       See Nick v. Morgan's

Foods, 99 F. Supp. 2d 1056, 1062-63 (E.D. Mo. 2000).         Counsel are

ordered to advise their respective clients and insurance company

representatives of the Nick decision.      Not later than 14 days

before the conference, counsel shall disclose to all other

parties a list of all those who will be attending the conference,

including their job titles.

    II. EXCHANGE OF OFFERS AND DEMANDS.        Settlement conferences

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are often unproductive unless the parties have exchanged offers

and demands before the conference and made a serious effort to

settle the case on their own.     Therefore, not less than 14 days

before the conference, the plaintiff's counsel shall serve a

settlement demand upon counsel for the defendant.         The demand

shall be accompanied by the plaintiff's damages analysis and

include a summary of any outstanding liens.        If the defendant

disagrees with the plaintiff's calculation of damages, the

defendant's counsel shall respond to the plaintiff's analysis not

later than 9 days before the conference.       Additionally, the

defendant must make a counteroffer at least 7 days prior to the

settlement conference. Failure to submit a counteroffer in a

timely manner may result in a postponement of the settlement

conference.

    III. CONFERENCE MEMORANDA.      Not later than 7 days prior to

the conference counsel shall submit to chambers of the

undersigned an ex parte, confidential conference memorandum.           The

memorandum shall be double spaced in no less than 12 point font

and shall not exceed 10 pages.     It shall include the following:

(A) a list of the claims and defenses; (B) the legal elements of

the claims and defenses; (C) the evidence in support of the

claims and defenses; (D) a damages analysis; (E) a discussion of

the strengths and weaknesses of the case; (F) the status of the

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case, including the discovery remaining and substantive motions

filed or contemplated; (G) a summary of any insurance coverage,

including whether the terms of the policy exclude any parties or

claims; (H) a summary of any outstanding liens, including the

lien amount, the lienholder, and any expected compromises of the

lien; (I) settlement negotiations to date; (J) a discussion of

the parties’ incentives and impediments to settlement; and (K) a

list of all those who will attend the conference, including job

titles if pertinent to the case.       Prior to submission of the ex

parte memorandum, counsel shall disclose to opposing counsel a

list of all those who will be attending the conference.          The

plaintiff's counsel shall attach a copy of the complaint to the

plaintiff's ex parte memorandum.       Counsel may include attachments

when appropriate, and such attachments shall not count against

the 10 page limit.

    Counsel may submit their ex parte memoranda to chambers by

any of the following methods: email to Law Clerk Alicia Johnson

at Alicia_Johnson@ctd.uscourts.gov; fax to (860) 240-3587; or

mail to Abraham Ribicoff Federal Building, United States

Courthouse, 450 Main Street – Suite 258, Hartford, CT 06103.

Failure to submit memoranda in a timely manner may result in a

postponement of the settlement conference.

    IV. REQUESTS PERTAINING TO THE CONFERENCE.         Any requests

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pertaining to the conference shall be made to the chambers of the

undersigned in writing, or by telephone confirmed in writing, no

later than 10 days from the date of this order.        Any counsel

requesting continuances, which will be considered only for good

cause shown, shall consult with all opposing counsel before

making the request and, in the event of a continuance, shall

notify all parties of the new date and time.

    V.   DUE DATES REMAIN IN PLACE. Counsel are reminded that the

scheduling of a settlement conference does not affect existing

deadlines and shall not delay discovery or other due dates.

    SO ORDERED this 20th day of December, 2022 at Hartford,

Connecticut.

                                 _____/s/______________________
                                 Robert A. Richardson
                                 United States Magistrate Judge




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